SEAN T. WHITE
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317.822.4400 x F099

February 6, 2012

VIA E-MAIL

Randall D. LaTour

Kent A. Britt

David F. Hine

Vorys, Sater Seymour and Pease, LLP
221 East Fourth Street

Suite 2000, Atrnum Two

Cinemnati, OH 45202

RE: Inre: Eastern Livestock Co., LLC
United States Bankruptcy Court; Southem District of Indiana
Case No. 10-93904-BHL

Dear Gentlemen:

I was disappointed to receive Fifth Third’s Motion to Limit Discovery or Alternatively
for a Protective Order (the “Discovery Motion”). I had made calls and left messages for Kent
and David last week to discuss the depositions of Fifth Third employees. However, for whatever
reason, no one retumed my calls to discuss this issue. Moreover, there was no attempt to comply
with the Southern District of Indiana’s Loca] Rule 37.1 that requires a discovery conference
before filing a motion relating to depositions. Had any of you returned my calls, Fifth Third
would have known filing the Discovery Motion was unnecessary. Let me be clear, the Trustee
agrees to notice the depositions in the bankruptcy case and each adversary proceeding. The
Trustee therefore, requests you to withdraw the Discovery Motion so that he does not have to
waste resources responding to it. .

Please be advised that we will be noticing the depositions of Darren Steinmann,
Lori Hart, Anne Kelly, Timothy Spurlock, Shannon Hughes and Amber Whitehouse
tomorrow on the dates Kent previously provided to me. Kent was to confirm them in writing but
to date I have received no such correspondence. Likewise, we will notice on Wednesday the
depositions of the other Fifth Third employees for which dates were not yet provided unless
provided. Unless you advise us before Wednesday concerning different availability of these
witnesses, we intend to depose therm according to the following schedule:

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Randall D. LaTour
Kent A. Britt
David F. Hine
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Page 2
DEPONENT DEPOSITION DATE
Darren Steinmann February 14, 2012
Lori Hart February 14 or 15, 2012
Anne Kelly February 14 or 15, 2012
David Fuller February 16, 2012
Sean Kelly February 17, 2012
Timothy Spurlock February 21 or 22, 2012
Shannon Hughes February 21 or 22, 2012
Amber Whitehouse February 22, 2012
Devon Morse February 23 or 24, 2012
Patty Voss February 24, 2012
Sara Chapman February 24 or 25, 2012
Vermtruly yours,
Gri Z 6
C. ' Sean T. White

STWivkw
cet James A. Knauer

John David Hoover

Daniel J. Donnellon

Laura Day DelCotto

John M. Rogers

Claude R. Bowles, Jr.

John Ames

Ivana B. Shallcross

W, Scott Newbern
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